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 2   Nevada State Bar No. 11479
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 7   Attorney for DERRICK JOSEPH RADY
 8
                                UNITED STATES DISTRICT COURT
 9
                                     DISTRICT OF NEVADA
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11
12   UNITED STATES OF AMERICA,                          Case No. 3:17-CR-00045-HDM-WGC
                                                        ORDER GRANTING
13                 Plaintiff,                           STIPULATION TO CONTINUE
            v.                                          SENTENCING HEARING
14                                                              (Fourth Request)
15   DERRICK JOSEPH RADY,

16                 Defendant.

17
18          IT IS HEREBY STIPULATED AND AGREED by and through Federal Public
19   Defender Rene L. Valladares and Assistant Federal Public Defender Robert O’Brien, counsel
20   for DERRICK JOSEPH RADY, and United States Attorney Nicholas A. Trutanich and
21   Assistant United States Attorney Richard Casper, counsel for the UNITED STATES OF
22   AMERICA, that the Sentencing hearing set for November 10, 2020, at 11:00 AM, be vacated
23   and continued to January 26, 2021, at 11:00 AM.
24
25   ///
26   ///
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 1          The continuance is necessary for the following reasons:
 2          1.      This is a joint request by counsel for the Government and counsel for the
 3   Defendant, Mr. Derrick Rady.
 4          2.      The additional time requested by this Stipulation is reasonable pursuant to
 5   Federal Rule of Criminal Procedure 32(b)(2), which states that the “court may, for good cause,
 6   change any time limits prescribed in this rule.”
 7          3.      Both counsel request this additional time in order to allow adequate time to
 8   research sentencing issues and to prepare for the sentencing hearing.
 9          4.      The government has discovered evidence that may be relevant to Mr. Rady’s
10   case and exculpatory. As a result of COVID-19 restrictions in government offices and the
11   protective order in place in this case, to date, defense counsel has had an opportunity to partially
12   review this material. Defense counsel requires additional time to complete the document review
13   and any follow-up investigation.
14          5.      Defense counsel will need to completely and thoroughly review the
15   government’s discovered evidence in order to advise Mr. Rady on whether or not he should
16   petition to withdraw his guilty plea in this case.
17          6.      Mr. Rady is currently detained and agrees with the continuance.
18          7.      This is the fourth request for continuance of the sentencing hearing.
19          DATED this 27th day of October, 2020.
20
         RENE L. VALLADARES                                   NICHOLAS A. TRUTANICH
21       Federal Public Defender                              United States Attorney

22
      By: /s/ Robert O’Brien             .                By:     /s/ Richard B. Casper             .
23       ROBERT O’BRIEN                                         RICHARD B. CASPER
         Assistant Federal Public Defender                      Assistant United States Attorney
24       Counsel for                                            Counsel for the Government
         DERRICK JOSEPH RADY
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 1                                           ORDER
 2         Based on the Stipulation of counsel, and good cause appearing,
                                                  Re-
 3   IT IS THEREFORE ORDERED that the Sentencing Hearing currently set for
 4   November 10, 2020 be vacated and continued to January 26, 2021, at 11:00 AM in Reno
      Courtoom 4 before Judge Howard D. McKibben. IT IS SO ORDERED.
 5                             27th day of October, 2020.
                  DATED this ______
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 8                                             _________________________________
                                               UNITED STATES DISTRICT JUDGE
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